Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 1 of 15                       PageID #: 78




                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

CHRISTIAN VENABLE,                              )
                                                )
                               Plaintiff        )
                                                )
v.                                              )
                                                )
CITY OF LEWISTON,                               )   Civil Action No: 2:17-cv-473-DBH
DEREK ST. LAURENT, and                          )
KATHERINE ROONEY                                )
                                                )
                               Defendants       )
                                                )


       DEFENDANTS CITY OF LEWISTON AND ST. LAURENT’S ANSWER TO
     PLAINTIFF’S COMPLAINT, MOTION FOR DECLARATORY JUDGMENT AND
                          JURY TRIAL DEMAND

       NOW COME Defendants City of Lewiston and Derek St. Laurent (collectively,

“Lewiston Defendants”), by and through undersigned counsel, and answer Plaintiff’s Complaint

as follows:

       1.        Lewiston Defendants admit the allegations contained in paragraph 1 of the

Complaint.

       2.        Lewiston Defendants deny the allegations contained in paragraph 2 of the

Complaint.

       3.        Lewiston Defendants deny the allegations contained in paragraph 3 of the

Complaint.

       4.        Lewiston Defendants are without sufficient knowledge or information to form a

belief as to the truth of the allegations contained in paragraph 4 of the Complaint and, therefore,

deny the same.
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 2 of 15                        PageID #: 79




       5.        Lewiston Defendants are without sufficient knowledge or information to form a

belief as to the truth of the allegations contained in paragraph 4 of the Complaint and, therefore,

deny the same.

       6.        Lewiston Defendants deny that Defendant Rooney showed any signs of being

“mentally sick,” and that she said that Plaintiff used guns to rape her, but admit that she told

police that Plaintiff had sexually assaulted her and that she believed Plaintiff was involved in

sexual trafficking of women in New England. Lewiston Defendants deny the allegations

contained in the second and third sentences of paragraph 6 of the Complaint.

       7.        Lewiston Defendants deny the allegations contained in paragraph 7 of the

Complaint.

       8.        Lewiston Defendants deny that they could not find anything to implicate Plaintiff

and admit the remaining allegations contained in paragraph 8 of the Complaint.

       9.        Lewiston Defendants admit that they conducted a non-custodial interview of

Plaintiff and deny the remaining allegations contained in paragraph 9 of the Complaint.

       10.       Lewiston Defendants deny the allegations contained in paragraph 10 of the

Complaint.

       11.       Lewiston Defendants deny the allegations contained in paragraph 11 of the

Complaint.

       12.       Lewiston Defendants deny the allegations contained in paragraph 12 of the

Complaint.

       13.       Lewiston Defendants deny the allegations contained in paragraph 13 of the

Complaint.

       14.       Lewiston Defendants admit that Plaintiff’s counsel said he would seek charges

against Ms. Rooney.

                                                  2
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 3 of 15                       PageID #: 80




       15.       Lewiston Defendants deny the allegations contained in paragraph 15 of the

Complaint.

       16.       Lewiston Defendants deny the allegations contained in paragraph 16 of the

Complaint.

       17.       Lewiston Defendants deny the allegations contained in paragraph 17 of the

Complaint.

       18.       Paragraph 18 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

       19.       Lewiston Defendants are without sufficient knowledge or information to form a

belief as to the truth of the allegations contained in paragraph 19 of the Complaint and, therefore,

deny the same.

       20.       Paragraph 20 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

       21.       Paragraph 21 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

       22.       Paragraph 22 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

       23.       The allegations contained in paragraph 23 of the Complaint call for a legal

conclusion to which an answer is not required. To the extent an answer is deemed necessary,

Lewiston Defendants deny the allegations contained in paragraph 23 of the Complaint.

       24.       Paragraph 24 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

       25.       Lewiston Defendants admit that the mayor and police chief of Lewiston received

a copy of a letter from Plaintiff’s counsel. The letter was also addressed to Andrew Robinson,

                                                  3
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 4 of 15                        PageID #: 81




Esq. of the Androscoggin County District Attorney’s office. The Lewiston Defendants deny that

this letter “implored” them to “do the right thing” and charge Ms. Rooney with false reporting.

The letter only contained a request from Plaintiff’s counsel that the city reprimand Defendant St.

Laurent for allegedly being rude and dismissive of Plaintiff’s counsel. The letter did ask the

District Attorney to charge Ms. Rooney with a crime, not the Lewiston Defendants who had no

authority to approve criminal charges against anyone. Lewiston Defendants deny the remaining

allegations contained in paragraph 25 of the Complaint.

       26.     Lewiston Defendants deny the allegations contained in paragraph 26 of the

Complaint.

       27.     Lewiston Defendants admit that Plaintiff’s counsel filed a complaint with the

Mayor and Police Chief of the City of Lewiston against Defendant St. Laurent but deny the

remaining allegations contained in paragraph 27 of the Complaint. Lewiston Defendants deny

that Plaintiff was ever in danger of “going to jail for a long time,” as he only voluntarily

participated in one, non-custodial interview with police and no charges were ever filed against

him regarding the alleged sexual assault of Ms. Rooney.

       28.     Lewiston Defendants deny the allegations contained in paragraph 28 of the

Complaint.

       29.     Lewiston Defendants admit that in his letter Plaintiff’s counsel indicated his

apparent belief that “there exists a malicious prosecution charge” that Plaintiff could bring

against the police, but also indicating that he might not bring such a claim “if justice is

voluntarily served in this matter.” Because Plaintiff was only interviewed once in a non-

custodial, voluntary setting and was never charged with any crime, any threat by Plaintiff’s

counsel to file a malicious prosecution action against police obviously was meritless and



                                                  4
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 5 of 15                      PageID #: 82




unworthy of a response. Lewiston Defendants deny the allegations contained in paragraph 29 of

the Complain.

       30.      Lewiston Defendants deny the allegations contained in paragraph 30 of the

Complaint.

       31.      Paragraph 31 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

       32.      Lewiston Defendants deny that there were any “falsely brought charges” against

Plaintiff that they could “rectify.” Defendants deny that they ever brought any charges against

Plaintiff or that charging Ms. Rooney was within their authority.

       33.      Lewiston Defendants deny that there is anything succinct in this letter, which

makes numerous allegations that are frivolous and groundless.

       34.      Lewiston Defendants deny the allegations contained in paragraph 34 of the

Complaint.

       35.      Paragraph 35 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

       36.      Lewiston Defendants admit that Plaintiff’s counsel filed a complaint against

Defendant St. Laurent but deny the remaining allegations contained in paragraph 36 of the

Complaint.

       37.      Lewiston Defendants deny the allegations contained in paragraph 37 of the

Complaint.

       38.      Lewiston Defendants deny that Defendant St. Laurent had legal authority to

charge Ms. Rooney under the circumstances and are without sufficient knowledge or information

to form a belief as to the truth of the remaining allegations contained in paragraph 38 of the

Complaint.

                                                 5
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 6 of 15                    PageID #: 83




       39.     Paragraph 39 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

       40.     Paragraph 40 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

       41.     Paragraph 41 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

                 JURISDICTION AND NATURE OF THE COMPLAINT

       42.     The allegations contained paragraph 42 of the Complaint call for a legal

conclusion to which an answer is not required. To the extent an answer is deemed necessary,

Lewiston Defendants deny the allegations contained in paragraph 42 of the Complaint.

       43.     Lewiston Defendants deny the allegations contained in paragraph 43 of the

Complaint.

       44.     The allegations contained paragraph 44 of the Complaint call for a legal

conclusion to which an answer is not required. To the extent an answer is deemed necessary,

Lewiston Defendants deny the allegations contained in paragraph 44 of the Complaint.

                                   CLAIMS FOR RELIEF

                                           COUNT I:

                 VIOLATION OF 5TH AMENDMENT TO THE STATE AND
             U.S. CONSTITUTIONS/VIOLATION OF DUE PROCESS CLAUSE

       45.     Lewiston Defendants repeat and reallege their responses contained in paragraphs

1 through 44 herein.

       46.     Lewiston Defendants deny the allegations contained in paragraph 46 of the

Complaint.

       47.     Lewiston Defendants deny the allegations contained in paragraph 47 of the

Complaint.
                                                6
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 7 of 15                   PageID #: 84




       48.     Lewiston Defendants deny the allegations contained in paragraph 48 of the

Complaint.

       49.     Lewiston Defendants deny the allegations contained in paragraph 49 of the

Complaint.

       50.     Lewiston Defendants deny the allegations contained in paragraph 50 of the

Complaint.

       51.     Lewiston Defendants deny the allegations contained in paragraph 51 of the

Complaint.

                                             COUNT II:

  VIOLATION OF 4TH AMENDMENT TO THE MAINE AND U.S. CONSTITUTIONS

       52.     Lewiston Defendants repeat and reallege their responses contained in paragraphs

1 through 51 herein.

       53.     Lewiston Defendants deny the allegations contained in paragraph 53 of the

Complaint.

       54.     Lewiston Defendants admit that at all times they were acting in the performance

of official duties, but deny specific actions as alleged.

       55.     Lewiston Defendants deny the allegations contained in paragraph 55 of the

Complaint.

       56.     Lewiston Defendants deny the allegations contained in paragraph 56 of the

Complaint.

       57.     Lewiston Defendants deny the allegations contained in paragraph 57 of the

Complaint.




                                                   7
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 8 of 15                  PageID #: 85




                                         COUNT III:

               VIOLATION OF 5TH AMENDMENT TO THE MAINE AND
                  U.S. CONSTITUTIONS / DUE PROCESS CLAUSES

       58.    Lewiston Defendants repeat and reallege their responses contained in paragraphs

1 through 57 herein.

       59.    Paragraph 59 of the Complaint contains no allegation of fact against Lewiston

Defendants, only opinion of counsel to which no response is required.

       60.    Lewiston Defendants deny the allegations contained in paragraph 60 of the

Complaint.

       61.    Lewiston Defendants deny the allegations contained in paragraph 61 of the

Complaint.

       62.    Lewiston Defendants deny alleged acts, but admit that Defendants’ were acting

within course and scope of employment at all times.

       63.    Lewiston Defendants deny the allegations contained in paragraph 63 of the

Complaint.

       64.    Lewiston Defendants deny the allegations contained in paragraph 64 of the

Complaint.

                                         COUNT IV:

      VIOLATION OF 5TH AND 14TH AMENDMENTS TO THE MAINE AND U.S.
                     CONSTITUTIONS (42 U.S.C § 1983)

       65.    Lewiston Defendants repeat and reallege their responses contained in paragraphs

1 through 64 herein.

       66.    Lewiston Defendants deny the allegations contained in paragraph 66 of the

Complaint.



                                               8
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 9 of 15                     PageID #: 86




       67.       Lewiston Defendants deny the allegations contained in paragraph 67 of the

Complaint.

       68.       Lewiston Defendants admit that Defendants acted under color of state law and in

performance of official duties but deny the alleged actions contained in paragraph 68 of the

Complaint.

       69.       Lewiston Defendants deny the allegations contained in paragraph 69 of the

Complaint.

       70.       Lewiston Defendants deny the allegations contained in paragraph 70 of the

Complaint.

       71.       Lewiston Defendants deny the allegations contained in paragraph 71 of the

Complaint.

                                           COUNT V:

 VIOLATION OF 14TH AMENDMENT TO THE MAINE AND U.S. CONSTITUTIONS
                          (42 U.S.C. §1983)

       72.       Lewiston Defendants repeat and reallege their responses contained in paragraphs

1 through 71 herein.

       73.       Lewiston Defendants deny the allegations contained in paragraph 73 of the

Complaint.

       74.       Lewiston Defendants admit that Defendants acted under color of state law and in

performance of official duties but deny the remaining allegations contained in paragraph 74 of

the Complaint.

       75.       Lewiston Defendants deny the allegations contained in paragraph 75 of the

Complaint.

       76.       Lewiston Defendants deny the allegations contained in paragraph 76 of the

Complaint.
                                                 9
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 10 of 15                 PageID #: 87




       77.    Lewiston Defendants deny the allegations contained in paragraph 77 of the

Complaint.

                                          COUNT VI:

                           NEGLIGENCE/ABUSE OF PROCESS

      Count VI was dismissed by this Court’s Order on Lewiston Defendants’ Partial Motion to
Dismiss (Doc. 13) and therefore no response is required.

                                         COUNT VII:

               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       Count VII was dismissed by this Court’s Order on Lewiston Defendants’ Partial Motion
to Dismiss (Doc. 13) and therefore no response is required.

                                         COUNT VIII:

                NEGLIGENT INFLICTION OF EMOTIOANL DISTRESS

       Count VIII was dismissed by this Court’s Order on Lewiston Defendants’ Partial Motion

to Dismiss (Doc. 13) and therefore no response is required.

                                          COUNT IX:

                             DEFAMATION & FALSE LIGHT

       Count IX was dismissed by this Court’s Order on Lewiston Defendants’ Partial Motion to

Dismiss (Doc. 13) and therefore no response is required.

                                          COUNT X:

                                    NEGLIGENT HIRING

       Count X was dismissed by this Court’s Order on Lewiston Defendants’ Partial Motion to

Dismiss (Doc. 13) and therefore no response is required.




                                               10
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 11 of 15                    PageID #: 88




                                            COUNT XI:

                          NEGLIGENT SUPERVISON & TRAINING

       Count XI was dismissed by this Court’s Order on Lewiston Defendants’ Partial Motion to

Dismiss (Doc. 13) and therefore no response is required.

                                           COUNT XII:

                         MAINE UNFAIR TRADE PRACTICES ACT

       Count XII was dismissed by this Court’s Order on Lewiston Defendants’ Partial Motion

to Dismiss (Doc. 13) and therefore no response is required.

                                           COUNT XIII:

                                    INVASION OF PRIVACY

       Count XIII was dismissed by this Court’s Order on Lewiston Defendants’ Partial Motion

to Dismiss (Doc. 13) and therefore no response is required.

       WHEREFORE, Lewiston Defendants respectfully request judgment in their favor on all

Counts of Plaintiff’s Complaint, plus their costs of suit.

                                         JURY DEMAND

       Lewiston Defendants hereby demand a trial by jury pursuant to Fed. R. Civ. P. 38(b).

                                  AFFIRMATIVE DEFENSES

       1.      Lewiston Defendants affirmatively defend by stating that Plaintiff’s Complaint

fails to state a claim upon which relief may be granted.

       2.      Lewiston Defendants affirmatively defend by stating that Plaintiff’s Complaint is

barred by the statute of limitations.

       3.      Lewiston Defendants affirmatively defend by stating that their conduct was

privileged.



                                                 11
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 12 of 15                          PageID #: 89




        4.        Lewiston Defendants affirmatively defend by stating that Plaintiff has failed to

mitigate his damages.

        5.        Lewiston Defendants affirmatively defend by stating that Plaintiffs’ Complaint is

barred by the doctrine of absolute immunity and/or qualified immunity.

        6.        If any of the Lewiston Defendants’ acts are found to have been unlawful and/or

unconstitutional, Defendants had no knowledge of such illegality or unconstitutionality at the

time of the alleged conduct and at all times were acting in good faith.

        7.        Defendant municipality has no liability for damages because the conduct of its

employees did not violate clearly established law, therefore any alleged failure to hire, train,

manage, discipline, or supervise could not have been a proximate cause of Plaintiffs’ damages.

        8.        Defendants’ conduct did not rise to the level of a constitutional violation, but, at

most, amounts to a common law tort.

        9.        No clearly established rights of Plaintiff were violated by the Lewiston

Defendants’ actions.

        10.       Plaintiff’s voluntary participation in a non-custodial interview with police, which

interview gave him the opportunity to respond to sexual assault accusations made against him by

Ms. Rooney, does not in any way give rise to a cause of action under the Fourth, Fifth, or

Fourteenth Amendments of either the U.S. Constitution or the State of Maine Constitution, or

state tort law.

        11.       Lewiston Defendants never seized Plaintiff, arrested Plaintiff, prevented Plaintiff

from leaving the voluntary, non-custodial interview, or charged Plaintiff with any crime, and no

cause of action exists under the Fourth or Fourteenth Amendments of either the U.S. Constitution

or the State of Maine Constitution or state tort law arising out of Defendants’ participation in

such a voluntary interview.

                                                    12
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 13 of 15                          PageID #: 90




        12.     Lewiston Defendants affirmatively defend by stating that Plaintiff’s alleged

damages, if any, were not caused by any municipal policy or custom amounting to deliberate

indifference to the rights of citizens.

        13.     Lewiston Defendants affirmatively defend by stating that any negligence on their

part, if any, is less than that of Plaintiff and his recovery is therefore barred by the doctrine of

comparative negligence.

        14.     To the extent a “Motion for Declaratory Judgment” can be read into Plaintiff’s

Complaint, as the caption would indicate, Lewiston Defendants affirmatively defend by stating

that declaratory relief is not warranted and is inappropriate because it would not terminate the

controversy giving rise to these proceedings. See 28 U.S.C. § 2201.

        15.     Plaintiff’s “Complaint, Motion for Declaratory Judgment, and Jury Trial

Demand” is procedurally improper and impermissible under Rules 7 and 8 of the Federal Rules

of Civil Procedure.

        16.     To the extent Plaintiff’s Prayer for Relief includes a demand that Lewiston

Defendants “must apologize and admit their wrongdoings in an advertisement in all newspapers

that covered Plaintiff’s mistreatment,” Lewiston Defendants deny any “mistreatment” of Plaintiff

was caused by allowing him to respond to accusations of criminal conduct in a voluntary, non-

custodial interview. Lewiston Defendants are also unaware of any newspapers that “covered”

Plaintiff’s voluntary, non-custodial interview by Lewiston detectives or published articles

discussing Ms. Rooney’s accusations of sexual assault against Plaintiff. This portion of

Plaintiff’s Prayer for Relief appears to simply have been recycled from another case in which the

Plaintiff is represented by Attorney Carey, see Pantermoller v. Town of Fairfield, 1:17-cv-

00223-JDL, Doc. 3-3 at ¶ 6, and has no applicability to this case.



                                                  13
Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 14 of 15                           PageID #: 91




        17.     Lewiston Defendants affirmatively defend by stating that no statutory or

constitutional rights of Plaintiff are implicated by the decision of the District Attorney not to

charge Ms. Rooney with the crime of false reporting and no liability can lie against Lewiston

Defendants as a result of that decision.

        18.     Lewiston Defendants affirmatively defend by stating that no recognized cause of

action exists, and no liability can lie, against the City of Lewiston for its decision that Detective

St. Laurent should not be disciplined for the manner in which the voluntary, non-custodial

interview of Plaintiff was conducted and/or for allegedly being “rude” or “dismissive” of

Plaintiff’s counsel in the course of that interview. Any municipal liability claim based on alleged

“failure to discipline” requires that a municipal employer be on notice of disciplinary problems

prior to the operative event giving rise to this lawsuit, fail to act to the point of deliberate

indifference to the rights of citizens, and proven causation between that deliberate indifference

and damages caused by a municipal employee to Plaintiff. None of these elements are present in

this case, or even alleged in the Complaint.

        19.     Lewiston Defendants’ brief entry into Plaintiff’s residence was based upon

consent to enter given by an adult female, Julia Hernandez, who was represented to Lewiston

Defendants to be Plaintiff’s “live-in” girlfriend, and who confirmed to Lewiston Defendants that

she was currently living at the residence.


DATED: January 9, 2018                                  /s/ Edward R. Benjamin, Jr.
                                                        Edward R. Benjamin, Jr.
                                                        Kasia S. Park
                                                        Attorneys for Defendants City of
                                                        Lewiston and St. Laurent
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Case 2:17-cv-00473-DBH Document 15 Filed 01/09/18 Page 15 of 15                      PageID #: 92




                               CERTIFICATE OF SERVICE

       I, Edward R. Benjamin, Jr., hereby certify that on January 9, 2018 I electronically

filed the above Lewiston Defendants’ Answer to Plaintiff’s Complaint, Motion for

Declaratory Judgment, and Jury Trial Demand with the Clerk of Court using the CM/ECF

system which will send notifications of this filing to all parties of record.



                                                               /s/ Edward R. Benjamin, Jr.
                                                               Edward R. Benjamin, Jr.
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                                                  15
